Case: 1:16-cv-06620 Document #: 111 Filed: 04/11/18 Page 1 of 1 PageID #:1624

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

Jack L Weber III, et al.
                                 Plaintiff,
v.                                                   Case No.: 1:16−cv−06620
                                                     Honorable Thomas M. Durkin
Setereus, Inc., et al.
                                 Defendant.



                           NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, April 11, 2018:


       MINUTE entry before the Honorable Thomas M. Durkin:Status hearing held on
4/11/2018. Expert discovery ordered closed by 7/13/2018. Jury Trial set for 10/15/2018 at
09:30 AM. Status hearing set for 8/2/2018 at 09:00 AM.Mailed notice(srn, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
